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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )          CRIMINAL ACTION NO.
     v.                              )             2:17cr385-MHT
                                     )                  (WO)
CURTIS JURVISKY JULIUS               )

                        OPINION AND ORDER

    This case is before the court on defendant Curtis

Jurvisky    Julius’s     motion      for    compassionate           release.

Julius     seeks      release        pursuant           to     18     U.S.C.

§ 3582(c)(1)(A)      for    several        reasons:      the    danger    he

faces from the novel coronavirus pandemic as a Black

person suffering from Type 2 diabetes; the difficulty

of avoiding infection in prison; and the need for him

to serve as a caregiver for family members due to their

poor health.       While the court is sympathetic to his

medical concerns and his family members’ situation, the

motion will be denied for the reasons explained below.

    Julius is serving a total sentence of 108 months

imprisonment     stemming     from       this    case    and   a    separate

revocation proceeding.           In this case, he received a
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sentence of 84 months for a conviction of being a felon

in possession of a weapon, in violation of 18 U.S.C.

§ 922(g)(1).           On the same day, he received a sentence

of 24 months in a separate revocation proceeding for

committing four criminal offenses, possessing a firearm

and        ammunition,        and      failure       to     report.           See

2:07cr316-LSC (M.D. Ala. May 23, 2018) (doc. no. 186).*

The        sentences    in     both     cases      were    ordered      to    run

consecutive to each other.                       He has been in federal

custody        since        August    23,     2017,       and   his     current

anticipated        release      date     is      August    9,   2024.    He    is

serving his time in a high-security prison.

       Julius, who is 34 years old, was diagnosed with

type-II diabetes in 2018.                While he receives medication

for it, his diabetes has not been well controlled.                            The

parties        dispute        whether       that     is    because      of    his

noncompliance or due to the quality of medical care he

has     received       in    prison.        He     also   asserts     that    his


      Julius has not moved for a sentence reduction in
       *

the revocation proceeding, and the court cannot reduce
the revocation sentence via a motion filed in this
case.
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mother, father, and brother-in-law have serious health

conditions and need his assistance as a caregiver.

       Julius seeks compassionate release under 18 U.S.C.

§ 3582(c)(1), which authorizes a court to modify a term

of imprisonment in only certain limited circumstances.

As relevant here, it states:

       “[T]he court, ... upon motion of the defendant
       after the defendant has fully exhausted all
       administrative rights to appeal a failure of
       the Bureau of Prisons to bring a motion on the
       defendant's behalf or the lapse of 30 days from
       the receipt of such a request by the warden of
       the defendant's facility, whichever is earlier,
       may reduce the term of imprisonment (and may
       impose a term of probation or supervised
       release with or without conditions that does
       not exceed the unserved portion of the original
       term of imprisonment), after considering the
       factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds
       that—

             (i) extraordinary and compelling                reasons
             warrant such a reduction; ...

       and that such a reduction is consistent with
       applicable policy statements issued by the
       Sentencing Commission.”

18 U.S.C. § 3582(c)(1)(A).                  By using the word “may,”

the    statute     clearly     vests       courts   with   discretion      to

grant a reduction if the stated conditions are met;

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however,      it     requires        that        the     exercise        of     that

discretion be informed by consideration of the factors

in 18 U.S.C. § 3553(a) to the extent they are relevant,

in addition to the other requirements of the statute.

      The “applicable policy statement” with which relief

under § 3582(c)(1)(A) must be consistent is found in

Guideline      1B1.13        of     the        United    States      Sentencing

Guidelines.         See      U.S.     Sentencing          Commission,           2018

Guidelines Manual (hereafter “U.S.S.G.”), § 1B1.13(2).

Guideline      1B1.13       mirrors       §    3582(c)(1)(A)        in    that    it

provides that a court may reduce a term of imprisonment

if    the    court        determines           that     “extraordinary           and

compelling reasons warrant the reduction” and that the

reduction is consistent with the policy statement, but

it also requires that “the defendant is not a danger to

the safety of any other person or to the community, as

provided       in      18         U.S.C.        § 3142(g).”              U.S.S.G.

§ 1B1.13(2).           In    an    application          note   to   the       policy

statement,       the        Sentencing         Commission       provides         the

following categories of “extraordinary and compelling


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circumstances”:           (A)     a     medical       condition        of        the

defendant, (B) the advanced age of the defendant, and

(C)     the    defendant’s       family       circumstances.           U.S.S.G.

§ 1B1.13       cmt.     n.1.      The    Commission      also    included          a

‘catchall’       provision       where        the   Director     of    the       BOP

finds “other reasons” exist that are “extraordinary and

compelling.”            U.S.S.G.        § 1B1.13      cmt.    n.1(D).            The

medical       conditions        that    qualify       include    a     terminal

illness, see U.S.S.G. § 1B1.13, comment n.1(A)(i); and

a     serious       physical      or     medical      condition,       serious

functional       or     cognitive       impairment,      or    aging-related

deteriorating           physical         or     mental        health        “that

substantially diminishes the ability of the defendant

to     provide      self-care         within    the    environment          of     a

correctional facility and from which he or she is not

expected to recover.”             § 1B1.13, comment n.1(A)(ii).

       The court assumes for purposes of analysis that

Julius        has     met       the     exhaustion       requirement              in

§ 3582(c)(1)(A); that his uncontrolled Type-II diabetes

in    the     context    of     incarceration        during     the    pandemic


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constitutes a “serious physical or medical condition

... that substantially diminishes the ability of the

defendant to provide self-care within the environment

of a correctional facility and from which he or she is

not     expected     to    recover,”        id.;     and    that    his   family

members’ need for caregiving constitute “extraordinary

and     compelling        circumstances”       under        the    category    of

either      family        circumstances       or     “other        reasons”    in

§ 1B1.13.         The court nevertheless finds that a sentence

reduction is unwarranted because (1) the balance of the

applicable § 3553(a) factors strongly counsels against

granting him a sentence reduction, and (2) the court

cannot find that “the defendant is not a danger to the

safety of any other person or to the community, as

provided in 18 U.S.C. § 3142(g),”                    § 1B1.13(2).

       The court’s discretion in deciding whether to grant

Julius’s         motion    must    be       guided     by    the     sentencing

factors set forth in § 3553(a).                      This section requires

courts      to     “impose     a   sentence          sufficient,       but    not




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greater than necessary, to comply with the [following]

purposes: ... the need for the sentence imposed—"

      “(A) to reflect the seriousness of the offense, to
      promote respect for the law, and to provide just
      punishment for the offense;

      "(B) to         afford   adequate      deterrence     to    criminal
      conduct;

      "(C) to protect the public from further crimes of
      the defendant; and

      "(D)   to  provide  the   defendant  with  needed
      educational or vocational training, medical care,
      or other correctional treatment in the most
      effective manner.”

18    U.S.C.      §     3553(a)(2).             The   statute     provides

additional       factors       for     the   court     to   consider       in

sentencing, such as “the nature and circumstances of

the offense and the history and characteristics of the

defendant” and the types of sentences available.                           18

U.S.C. § 3553(a)(1),(3); see also § 3553(a)(4)-(7).

      Applying these factors to the case at hand, the

court     finds       that     a     sentence     reduction      would     be

inappropriate.           The   nature      and   circumstances     of     the

offense call for significant punishment.                        Julius was

not merely found in possession of a weapon:                        he used

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the weapon to shoot at three people.                  The history and

characteristics of the defendant also weigh strongly

against a sentence reduction.                  Julius has a lengthy

record of convictions for violent offenses, including

assault, robbery, discharging a gun into an occupied

residence,        and     reckless       endangerment            (involving

shooting at a building and vehicle).                  See Presentence

Investigation Report (doc. no. 93) at 10-13.                       Most of

his criminal history involves not only violence, but

also the possession and/or use of guns.                     This history

is not remote: while some of his offenses are from more

than 10 years ago, he spent much of those 10 years in

and out of prison, and his most recent arrest, for the

shooting underlying this case, happened less than four

years ago.       In addition, before the instant conviction,

he   had    already     been   convicted       of   being    a    felon    in

possession of a weapon and sentenced to serve 50 months

in    prison;     when     released,      he    repeatedly        violated

supervised      release     and   was    revoked     three       times    for

committing new, violent criminal offenses.                   He seems to


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have little respect for the law or for the rights of

others.       Given these facts, the court cannot say that

the     time-served         sentence             Julius    requests      would      be

“sufficient,          but   no        greater       than    necessary         ...   to

reflect      the    seriousness             of     the    offense,      to   promote

respect for the law, and to provide just punishment for

the     offense;        ...      to     afford       adequate      deterrence       to

criminal conduct; ... [and] to protect the public from

further       crimes        of        the        defendant.”            18     U.S.C.

§ 3553(a)(2).

       The court has considered that, were it to reduce

Julius’s       sentence       to        time-served,         it    could       impose

supervised       release         with       home    confinement      for      a   term

equivalent to the length of “the unserved portion of

the      original       term          of      imprisonment.”            18     U.S.C.

§ 3582(c)(1)(A);            see        also        18     U.S.C.     § 3553(a)(3)

(requiring         consideration            of     the    kinds    of    sentences

available).         However, in light of his repeated defiance

of previous orders of this court, the court does not

consider       this    a    viable          or     safe    option.           Finally,


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assuming that Julius’s need for effective medical care

weighs in favor of release, that need is outbalanced by

the aforementioned factors on the other side of the

scale.

      For    much    the     same      reasons,      the   court    is   not

convinced that Julius "is not a danger to the safety of

any other person or to the community, as provided in 18

U.S.C.      § 3142(g).”          U.S.S.G.      §1B1.13(2).           Section

3142(g)     sets     forth    factors       courts    must   consider     in

deciding “whether there are conditions of release that

will reasonably assure the appearance of the person as

required and the safety of any other person and the

community.”         These include, among others, “the nature

and   circumstances        of    the    offense      charged,      including

whether the offense ... involves a ... firearm; ... the

history and characteristics of the person; ... [and]

the nature and seriousness of the danger to any person

or the community that would be posed by the person's

release.”      Id.     In Julius’s favor, he reportedly has a

supportive     wife,       has   a   good    disciplinary       record    in


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prison,    and    has     availed     himself   of    rehabilitative

programming      during    his   incarceration.        However,         his

lengthy history of violent offenses--which as discussed

above is not remote in time--strongly suggests that he

continues to be a danger to others.                  His evidence of

rehabilitation is simply not convincing enough at this

point to outweigh that history.

                                    ***

    Accordingly, it is ORDERED that defendant Curtis

Jurvisky    Julius’s      motion      for   compassionate      release

(doc. no. 114) is denied.

    DONE, this the 22nd day of September, 2020.


                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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